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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                  :

                                           :
    VS.
                                           :
                                                          14-cr-382
ELADIO SANTANA and LEROY                   :
BROOKS,
          Defendants.                      :      ORDER OF REASSIGNMENT
                                           :

                                        :
                                   -----------



     It is on this 5th day of January, 2015 on the court's own motion:

     ORDERED that the above entitled matter is hereby reassigned from JUDGE JOSEPH

E. IRENAS to JUDGE RENÉE MARIE BUMB.




                                   s/ Jerome B. Simandle
                                  JEROME B. SIMANDLE, CHIEF JUDGE
